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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA


  IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-MD-03047-YGR
  ADDICTION/PERSONAL INJURY
  PRODUCTS LIABILITY LITIGATION                     MDL No. 3047


  This Document Relates to:
                                                  MASTER SHORT-FORM COMPLAINT AND
                                                       DEMAND FOR JURY TRIAL


  Member Case No.:




        The Plaintiff(s) named below file(s) this Short-Form Complaint and Demand for Jury Trial
against the Defendants named below by and through the undersigned counsel. Plaintiff(s)

incorporate(s) by reference the allegations, claims, and relief sought in Plaintiffs’ Second Amended
Master Complaint (Personal Injury) (“Second Amended Master Complaint”) (ECF No. 494) as it

relates to the named Defendants (checked-off below), filed in In Re: Social Media Adolescent

Addiction/Personal Injury Products Liability Litigation, MDL No. 3047 in the United States
District Court for the Northern District of California. Plaintiff(s) file(s) this Short-Form Complaint

as permitted by the Second Amended Stipulated Implementation Order Governing Adoption of
Master Complaint (Personal Injury) and Short-Form Complaints for Filed Cases and by Case

Management Order No. 7 (ECF No. 479).

        As necessary herein, Plaintiff(s) may include: (a) additional Causes of Action and
supporting allegations against Defendants, as set forth in Section III in additional sheets attached

hereto; and/or (b) additional claims and allegations against other Defendants not listed in the Second
Amended Master Complaint, and may attach additional sheets hereto.

        Plaintiff(s) indicate by checking boxes below the Parties and Causes of Actions specific to

Plaintiff(s)’ case.



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      DESIGNATED FORUM

           For Direct Filed Cases: Identify the Federal District Court in which the
           Plaintiff(s) would have filed in the absence of direct filing:



           For Transferred Cases: Identify the Federal District Court in which the Plaintiff(s)
           originally filed and the date of filing:

               ________________________________________________________________
II.   IDENTIFICATION OF PARTIES

      A.       PLAINTIFF

       . Plaintiff: Name of the individual injured due to use of Defendant(s)’ social media
         products:



           Age at time of filing: _____

           City(ies) and state(s) where Plaintiff primarily used Defendants’ platforms:



       . Last Name and State of Residence of Guardian Ad Litem, if applicable:

               _________________________________________________________________

       . Name of the individual(s) that allege damages for loss of society or consortium
         (Consortium Plaintiff(s)) and their relationship to Plaintiff, if applicable:



           Survival and/or Wrongful Death Claims, if applicable:

                      Name of decedent and state of residence at time of death:



               (b)    Date of decedent’s death:



               (c)    Name and capacity (i.e. executor, administrator, etc.) of Plaintiff(s)

                      bringing claim for decedent’s wrongful death:
                      ___________________________________________________________
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                                      JURY DEMAND

       Plaintiff(s) hereby demand a trial by jury as to all claims in this action.
                                                ****
       By signature below, Plaintiff’s counsel hereby confirms their submission to the authority
and jurisdiction of the United States District Court for the Northern District of California
for oversight of counsel’s duties under Federal Rule of Civil Procedure 11, including
enforcement as necessary through sanctions and/or revocation of pro hac vice status.




                                                                            MASTER SHORT-FORM COMPLAINT
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